      Case 2:11-cr-00134-WBS Document 274 Filed 11/09/15 Page 1 of 3



1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    HANNAH R. LABAREE, Bar #294338
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     FRED PINEDA
7
8
                                             UNITED STATES DISTRICT COURT
9
                                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           No. Cr. S 2:11-cr-134 JAM
12
                               Plaintiff,                STIPULATED MOTION AND ORDER TO
13                                                       REDUCE SENTENCE PURSUANT TO 18
               v.                                        U.S.C. § 3582(c)(2)
14
     FRED PINEDA,                                        RETROACTIVE DRUGS-MINUS-TWO
15                                                       REDUCTION CASE
                               Defendant.
16                                                       Judge: Honorable JOHN A. MENDEZ

17             Defendant, FRED PINEDA, by and through his attorney, Assistant Federal Defender
18   Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19   Assistant U.S. Attorney Jason Hitt, hereby stipulate as follows:

20             1.         Pursuant to 18 U.S.C. § 3582(c)(2), this Court may reduce the term of

21   imprisonment in the case of a defendant who has been sentenced to a term of imprisonment

22   based on a sentencing range that has subsequently been lowered by the Sentencing Commission

23   pursuant to 28 U.S.C. § 994(o);

24             2.         On August 8, 2014, this Court sentenced Mr. Pineda to a term of 81 months

25   imprisonment;

26             3.         Mr. Pineda’s total offense level was 33, his criminal history category was I, and

27   the resulting guideline range was 135 to 168 months. He received a reduction from the low end

28   of the guideline range and the statutory mandatory minimum on the government’s motion;

     Stipulation and Order Re: Sentence Reduction          1
      Case 2:11-cr-00134-WBS Document 274 Filed 11/09/15 Page 2 of 3



1              4.         The sentencing range applicable to Mr. Pineda was subsequently lowered by the
2    United States Sentencing Commission in Amendment 782, made retroactive on July 18, 2014,
3    see 79 Fed. Reg. 44,973;
4              5.         Mr. Pineda’s total offense level has been reduced from 33 to 31 and his amended
5    guideline range is 108 to 135 months. A reduction comparable to the one he received initially
6    produces a term of 64 months;
7              6.         Accordingly, the parties request the Court enter the order lodged herewith
8    reducing Mr. Pineda’s term of imprisonment to 64 months.
9    Respectfully submitted,
10   Dated: November 5, 2015                            Dated: November 5, 2015
11   BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
     United States Attorney                             Federal Defender
12
13    /s/_Jason Hitt                                    /s/ Hannah R. Labaree
     JASON HITT                                         HANNAH R. LABAREE
14   Assistant U.S. Attorney                            Assistant Federal Defender
15   Attorney for Plaintiff                             Attorney for Defendant
     UNITED STATES OF AMERICA                           FRED PINEDA
16
17
18
19
20
21
22
23
24
25
26
27
28

     Stipulation and Order Re: Sentence Reduction          2
      Case 2:11-cr-00134-WBS Document 274 Filed 11/09/15 Page 3 of 3


                                                     ORDER
1
2              This matter came before the Court on the stipulated motion of the defendant for reduction
3    of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4              The parties agree, and the Court finds, that Mr. Pineda is entitled to the benefit
5    Amendment 782, which reduces the applicable guideline range to 108 to 135 months. A
6    reduction comparable to the one he received initially produces a term of 64 months.
7              IT IS HEREBY ORDERED that the term of imprisonment imposed in August 2014 is
8    reduced to a term of 64 months.
9              IT IS FURTHER ORDERED that all other terms and provisions of the original judgment
10   remain in effect. The clerk shall forthwith prepare an amended judgment reflecting the above
11   reduction in sentence, and shall serve certified copies of the amended judgment on the United
12   States Bureau of Prisons and the United States Probation Office.
13             Unless otherwise ordered, Mr. Pineda shall report to the United States Probation Office
14   within seventy-two hours after his release.
15   Dated: November 6, 2015
16                                                    /s/ John A. Mendez___________________
17                                                    United States District Court Judge
18
19
20
21
22
23
24
25
26
27
28

     Stipulation and Order Re: Sentence Reduction        3
